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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION




MARTHA MOSES,                       )
                                    )
                        Plaintiff,  )
                                    )
vs.                                 )                      COMPLAINT
                                    )                 (JURY TRIAL DEMANDED)
SOUTH CAROLINA DEPARTMENT           )
OF CORRECTIONS, DIRECTOR            )
BRYAN P. STIRLING, IN HIS           )
INDIVIDUAL AND OFFICIAL             )
CAPACITY,                           )
                                    )
                        Defendants. )
___________________________________ )



       This action is brought to remedy discrimination and retaliation on the basis of age in the

terms, conditions and privileges of employment in violation of The Age Discrimination in

Employment Act of 1967 (ADEA), 81 Stat 602, 29 U.S.C. §621 et seq.

       COMES NOW THE PLAINTIFF, by and through her undersigned attorney, respectfully

alleges unto this Honorable Court as follows:



                         PARTIES, JURISDICTION AND VENUE

       1.     Plaintiff, Martha Moses, born in 1958, is a citizen and resident of Sumter County,

              State of South Carolina.




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  2.    Defendant, South Carolina Department of Corrections ("SCDC"), is an executive

        agency of the State of South Carolina, within the meaning of South Carolina Code

        §15-78-30 and subject to the South Carolina Tort Claims Act.

  3.    The South Carolina Code vests the SCDC Director with exclusive management and

        control of the South Carolina prison system, including the office of compliance,

        which was Plaintiff’s place of employment. S.C. Code Ann. § 24-1-130.

  4.    The South Carolina Code charges the Director of SCDC with appearing for and

        defending any actions brought against SCDC. S.C. Code Ann. § 24-1-220.

  5.    That the individual Defendant, Director Bryan P. Stirling, is a citizen and resident

        of the State of South Carolina, and at all times alleged herein, acted individually and

        in his job position as an agent and Director of South Carolina Department of

        Corrections.

  6.    That Plaintiff at all times relevant herein was employed and continues to be

        employed by the Defendant employer, South Carolina Department of Corrections,

        under the direction of Director Bryan P. Stirling. Plaintiff has been employed with

        SCDC for 20 years, most recently as a record analyst.

  7.    That venue is proper in Columbia Division because the Defendant is headquartered

        in Columbia, South Carolina, and the events giving rise to this cause of action

        occurred in Columbia, South Carolina.



                           FACTUAL BACKGROUND

  8.    That the allegations of paragraphs 1 through 7 above are realleged as if fully set

        forth herein verbatim.

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  9.    Plaintiff has been employed with SCDC for 20 years, most recently as a record

        analyst.

  10.   While under the supervision of former employee Audrey Crum, Plaintiff was

        subjected to a hostile work environment in which her supervisor was hostile to

        Plaintiff, as one of the older employees who had been employed for a period of 10

        plus years.

  11.   Plaintiff grieved the hostile work environment with the State Human Resources and

        her grievance was denied investigation and Plaintiff was forced to continue working

        for the supervisor she complained about.

  12.   Plaintiff was then subjected to adverse employment action after complaining in ways

        which included, supervisor ignoring her questions, being subjected to strict scrutiny

        and increased unwarranted discipline, and continued hostility including poor

        evaluations and comments about needing “faster auditors”.

  13.   Plaintiff is aware of other long time employees who felt the same hostility toward

        them as older employees and those other employees were retired.

  14.   Plaintiff is aware of younger employees who were not subjected to the same work

        environment as Plaintiff.

  15.   Plaintiff is aware of other employees who did not complain of hostile work

        environment who were not subjected to retaliatory adverse employment actions as

        Plaintiff.

  16.   As a result of the discriminatory and retaliatory adverse employment actions that

        Defendant has allowed to take place against Plaintiff, Plaintiff suffers emotional

        distress, embarrassment, disparaging remarks on work ability and a constant threat

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         to interfere with Plaintiff’s ability to continue employment until Plaintiff’s

         retirement.

                                    COUNT I
                                (ADEA VIOLATION)

  17.    Plaintiff incorporates by reference paragraph 1-16 as fully as if set forth herein.

  18.    Plaintiff is a female over the age of 42, employed for 20 years and performing

         satisfactorily in her job as a record analyst.

  19.    Plaintiff suffered adverse employment actions such as hostile work environment,

         unequal discipline, unwarranted discipline and poor performance reviews all with the

         ability to affect merit increases, continued employment and retirement.

  20.    The foregoing actions of Defendants discriminated against Plaintiff because of her

         age and retaliated against Plaintiff because of her complaints in violation of The Age

         Discrimination in Employment Act of 1967 (ADEA), 81 Stat 602, 29 U.S.C. §621

         et seq.

  21.    Plaintiff has suffered loss of employment position, loss of equal pay, compensatory

         damage, emotional harm, as well as harm to her reputation, as a direct and proximate

         result of the Defendants’ violation of all said rights as alleged herein.



  WHEREFORE, Plaintiff respectfully prays that this Court:

  A.     Award Plaintiff back pay, front pay, and liquidated damages pursuant to 29 U.S.C.

         §621-633a;

  B.     Award Plaintiff other compensatory and punitive damages in an amount to be

         determined by a jury, as well as damages for allowable state claims; and,


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       C.     Award Plaintiff such other and further relief as this Court deems just and proper


                                                    WUKELA LAW FIRM

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